            Case 1:07-cr-00316-DAD-SKO Document 210 Filed 05/27/11 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   Suite 4401, Federal Courthouse
     2500 Tulare Street
 4   Fresno, CA   93721
     Telephone: (559) 497-4000
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) 1:07-CR-00316 LJO
                                   )
12                  Plaintiff,     ) STIPULATION AND ORDER THEREON
                                   ) FOR EXCLUSION OF TIME
13               v.                )
                                   )
14   RICHARD LIENG,                )
                                   )
15                  Defendant.     )
     ______________________________)
16
17
             Defendant RICHARD LIENG, by and through his attorney, MARK
18
     BROUGHTON, and the United States of America, by and through its
19
     attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN
20
     A. ESCOBAR, Assistant United States Attorney, hereby stipulate
21
     that the delay between the defendant’s detention hearing held on
22
     May 24, 2011, and the status conference set for July 15, 2011,
23
     shall be excluded in the interests of justice herein for
24
     ////
25
     ////
26
     ////
27
     ////
28
              Case 1:07-cr-00316-DAD-SKO Document 210 Filed 05/27/11 Page 2 of 2


 1   effective defense preparation and review of voluminous discovery
 2   materials, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
 3
 4   Dated: May 25, 2011                          Respectfully submitted,
 5                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 6
 7                                          By:   /s/ Karen A. Escobar
                                                  KAREN A. ESCOBAR
 8                                                Assistant U.S. Attorney
 9   Dated: May 25, 2011                          /s/ Mark Broughton
                                                  MARK BROUGHTON
10
                                         O R D E R
11
               THE COURT FINDS based on the reasons articulated by the
12
     parties for the delay between the detention hearing held on May
13
     24, 2011, and status conference date set July 15, 2011, that the
14
     “ends of justice” outweighs the interest of the public and
15
     defendant in a speedy trial under the Speedy Trial Act.
16
               THE COURT FURTHER ORDERS THAT the intervening period of
17
     delay shall be excluded in the interests of justice pursuant to
18
     18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
19
20
21            IT IS SO ORDERED.
22            Dated:   May 27, 2011                /s/ Gary S. Austin
     6i0kij                                   UNITED STATES MAGISTRATE JUDGE
23
24
25
26
27
28
